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 1
     Jeffrey L. Victor (#13132)
     JEFFERY L. VICTOR, P.C.
 2   5425 E. Bell Road, Suite 121
 3   Scottsdale, Arizona 85254
     (602) 749-0900
 4   victoratty@aol.com
 5
     Scott E. Boehm (#6603)
 6
     LAW OFFICE OF SCOTT E. BOEHM, P.C.
 7   2200 E. Camelback Road, Suite 213
     Phoenix, Arizona 85016
 8
     (602) 528-4719
 9   scott@scottboehmlaw.com
     Attorneys for Plaintiff Helen Schirmer
10

11                          UNITED STATES DISTRICT COURT
12                                  DISTRICT OF ARIZONA
13

14   HELEN SCHIRMER, surviving spouse of          Case No. 2:15-CV-01550-PHX-GMS
15   Decedent CARL SCHIRMER, for and on
     her own behalf and on behalf of the
16   decedent’s estate and on behalf of all who
17   may have a statutory right of recovery,
18
                                    Plaintiff,    NOTICE OF APPEAL TO UNITED
19                                                STATES COURT OF APPEALS FOR
     vs.                                          THE NINTH CIRCUIT
20

21   AVALON HEALTH CARE, INC., a Utah
22
     corporation, doing business as AVALON
     CARE CENTER SHADOW MOUNTAIN;
23   JOHN DOES I-X; JANE DOES I-X; ABC
24   CORPORATIONS I-X; and XYZ
     PARTNERSHIPS I-X,
25

26                              Defendants.
            Case 2:15-cv-01550-GMS Document 79 Filed 06/06/17 Page 2 of 3




 1
           Plaintiff Helen Schirmer gives notice and hereby appeals to the United States
 2

 3   Court of Appeals for the Ninth Circuit from the District Court’s Order filed on May

 4   10, 2017, granting defendant Avalon Health Care, Inc.’s, Motion for Summary
 5
     Judgment (Doc. 75), as well as the Clerk’s Judgment in a Civil Case also filed on
 6

 7   May 10, 2017 (Doc. 76).
 8
           A Representation Statement identifying all parties to the case, along with the
 9
     names, mailing and email addresses, and telephone numbers of their respective
10

11   counsel, is being filed concurrently with this Notice of Appeal as required under
12
     FRAP Rule 12(b) and Ninth Circuit Rules 3-2 and 12-2.
13

14

15                   RESPECTFULLY SUBMITTED on June 6, 2017.
16

17                              JEFFERY L. VICTOR, P.C.
18
                                             and
19

20                      LAW OFFICE OF SCOTT E. BOEHM, P.C.
21
                             By      /s/ Scott E. Boehm
22                                 SCOTT E. BOEHM
                           Attorneys for Plaintiff Helen Schirmer
23

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                                              2
             Case 2:15-cv-01550-GMS Document 79 Filed 06/06/17 Page 3 of 3




 1                             CERTIFICATE OF SERVICE

 2          I hereby certify that on the 6th day of June, 2017, I electronically transmitted
 3   the attached document to the Clerk’s office using the CM/ECF system for filing and
     transmittal of a notice of electronic filing to the following CM/ECF registrants in this
 4   case:
 5
     The Honorable G. Murray Snow
 6
     United States District Court
 7   Sandra Day O’Connor U.S. Courthouse, Suite 622
     401 W. Washington Street, SPC 80
 8
     Phoenix, Arizona 85003
 9
     Blake D. Miller, Esq.
10
     JONES WALDO HOLBROOOK & McDONOUGH, P.C.
11   170 South Main Street, Suite 1500
12
     Salt Lake City, Utah 84101
     bmiller@joneswaldo.com
13   Attorneys for Defendant Avalon Health Care, Inc.
14
     Barry C. Toone, Esq.
15   610 Birch Tree Lane
16   Kaysville, Utah 84037
     barryctoone97@gmail.com
17   Co-Counsel for Defendant Avalon Health Care, Inc.
18
     By /s/ Scott E. Boehm
19

20

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